Case 3:14-cr-00175-WHA Document 1428-24 Filed 08/25/21 Page 1 of 2




        Exhibit X-2
                        Case 3:14-cr-00175-WHA Document 1428-24 Filed 08/25/21 Page 2 of 2
                                                                                                                                                    BUCKS CREEK
                                                                                                                                                     SUBSTATION
                                                                                                                                                                                   #
                                                                                                                                                                                   *
                                                                                                                   End Storrie Rd                               )
                                                                                                                                                                "
                                                                                                                                             !
                                                                                                                                                                  Rock Creek
                                                                                                                                                                  Switching Center
                                                                                                           BUCKS
                                                                                                        CREEK 1101




                                                                                                                                  !
                                                                                                 Fuse 17733                   Cresta Dam
                                                                                                                   16:50          ( 12:20
                                                                                                                   17:51 F
                                                                                                                                 !!
                                                                                                                                 (!
                                                                                                                                  (
                                                                                                                         (
                                                                                                                         !
                                                                                                                         (
                                                                                                                         !
                                                                                                                         (
                                                                                                                         !!
                                                                                                                          (           12:18
                                                                                                                                      12:29
                                                                                                                          (
                                                                                                                          !      (
                                                                                                                                 !
                                                                                                                         (
                                                                                                                         !
                                                                                                                         19:02




                                                                                                             Rd




                                                                                                                                     7
                                                                                                                     7




                                                                                                            e ri
                                                                                                           or
                                                                                                        St
                                                                                    Closed Bridge
                                                                                                  13:27 16:30
                                                                                                        !
                                                                                                        (




                                                                                                    E
                                                                                                              7
                                                                                                  13:35 !
                                                                                                        (
                                                                                                    7      70V
                                                                                                             U
                                                                                                   7

                                                           Dix
                                                              ie R                           7
                                          15:56
                                                                      d
                                                                                       7



                                    7             (
                                                  !
                                                                                                            Troubleman
                                                                                                            Route
                                                                                      7




                            Co
                              nc
                        (
                        !
                15:46
                                                                              7
                                ow
                                           Rd                     14:17
                                                                          7




                                                                      (
                                                                      !
                                                                  7
                                        7



                                                              7

                                                                   7




                            ( 15:31
                            !
                                                      ( 14:47
                                                      !
                d
                R




                                                (
                                                !
                                                  11:59
           im
          R


                            7




        15:28 !
                    7




              (
                                    14:49
                                (
                                !



        14:57
                    14:51
                !
                (




Bucks Creek 1101
    Bucks Creek 1101                                          T-Man Route                    #
                                                                                             *     Substation                               (
                                                                                                                                            !        Cresta Dam

                                                                                                                                                     T-Man Location and                              8/24/2021
F   Fuse                                                  7
                                                              Direction of Travel                  Switching Center
!
(                                                                                            )
                                                                                             "                                                       Time
                                                                                                                                            (
                                                                                                                                            !

                                                                                                                                   While every effort has been made to produce accurate



o
    0                               1.5                           3                                                                maps, it is possible that plotting might not reflect actual
                                                                      Miles                                                       locations, as determined by Global Positioning Systems
                                                                                                                                      or other physical location measuring techniques.
                                                                                      Feet
    0                                           11,000                            22,000                                             \\fairfield07\gis\public\FIRE_RESP ONS E\dixie\mxd_lxfr\bucks_creek_1101_8x11v2.mxd
